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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             :
                                      :
      v.                              :        No. 21-mj-00224-MAU
                                      :
RICHARD ESCALERA,                     :
    Defendant.                        :


                          NOTICE OF APPEARANCE

      COMES NOW, Allen H. Orenberg and, pursuant to the Criminal Justice Act,

hereby enters his appearance on behalf of the Defendant, Richard Escalera, in the

above-captioned criminal cause.



                                      Respectfully Submitted,


                                                          Digitally signed
                                          Allen H.        by Allen H.
                                                          Orenberg
                                          Orenberg        Date: 2022.10.27
                                                          15:36:34 -04'00'
                                      _____________________________
                                      Allen H. Orenberg, # 395519
                                      The Orenberg Law Firm, P.C.
                                      12505 Park Potomac Avenue, 6 th Floor
                                      Potomac, Maryland 20854
                                      Tel. No. 301-984-8005
                                      Cell Phone No. 301-807-3847
                                      Fax No. 301-984-8008
                                      aorenberg@orenberglaw.com




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                             CERTIFICATE OF SERVICE

      I hereby certify that on the 27th day of October, 2022, a copy of the foregoing Notice

of Appearance, was delivered to case registered parties by the CM/ECF court system.




                                                               Digitally signed
                                           Allen H.            by Allen H.
                                                               Orenberg
                                           Orenberg            Date: 2022.10.27
                                                               15:36:56 -04'00'
                                              ______________________________
                                              Allen H. Orenberg




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